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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                :
In re:                                                          :   Chapter 11
                                                                :
BOY SCOUTS OF AMERICA AND                                       :   Case No. 20-10343 (LSS)
DELAWARE BSA, LLC                                               :
                                                                :   (Jointly Administered)
                                              1
                                   Debtors.                     :   Objection Deadline: 8/31/2020 at 4:00 p.m. (ET)
                                                                :   Hearing Date: 9/9/2020 at 10:00 a.m. (ET)
                                                                :
                                                                :

           MOTION OF THE COALITION OF ABUSED SCOUTS FOR JUSTICE
         FOR AN ORDER (I) AUTHORIZING THE COALITION TO FILE UNDER
           SEAL EXHIBIT A TO THE AMENDED 2019 STATEMENT AND (II)
         APPROVING THE SUFFICIENCY OF THE AMENDED 2019 STATEMENT

         The Coalition of Abused Scouts for Justice (the “Coalition”), by its undersigned counsel,

hereby moves (this “Motion”) the Court for entry of an order, substantially in the form attached

hereto as Exhibit A (the “Proposed Order”), pursuant to sections 105(a) and 107(b) of title 11 of

the United States Code (the “Bankruptcy Code”), rules 2019, 9018 and 9037 of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”), and rule 9018-1 of the Local Rules of

Bankruptcy Practice and Procedure of the United States District Court for the District of Delaware

(the “Local Rules”), authorizing the Coalition to redact and to file under seal certain information

contained in Exhibit A to the Amended Verified Statement of Coalition of Abused Scouts for Justice

Pursuant to Bankruptcy Rule 2019 [D.I. 1106] (the “Amended 2019 Statement”), which exhibit is

being filed under seal contemporaneously herewith.2 In support of this Motion, the Coalition

respectfully states as follows:


1
  The Debtors in the chapter 11 cases, together with the last four digits of each Debtors’ federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing address
is 1325 W. Walnut Hill Ln., Irving, TX 75038.
2
  Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Amended 2019
Statement.


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               JURISDICTION, VENUE, AND PREDICATES FOR RELIEF

       1.      This Court has jurisdiction over this Motion pursuant to 28 U.S.C. § 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012. This is a core proceeding within the meaning of 28 U.S.C.

§ 157(b)(2), and the Coalition confirms its consent, pursuant to Local Rule 9013-1(f), to the entry

of a final order or judgment by the Court, if it is determined that the Court, absent consent of the

parties, cannot enter final orders or judgments in connection herewith consistent with Article III

of the United States Constitution. Venue of this proceeding and this Motion is proper in this

judicial district pursuant to 28 U.S.C. §§ 1408 and 1409. The predicates for the relief requested

herein are Bankruptcy Code sections 105(a) and 107(b), Bankruptcy Rules 2019, 9018 and 9037,

and Local Rule 9018-1.

                                 GENERAL BACKGROUND

       2.      On February 18, 2020 (the “Petition Date”), each of the Debtors filed with this

Court a voluntary petition for relief under chapter 11 of the Bankruptcy Code.

        3.     On May 26, 2020, the Court entered an order [D.I. 695] (the “Bar Date Order”)

approving, among other things, the proposed procedures for the filing of Sexual Abuse Survivor

Proofs of Claim including special procedures for Sexual Abuse Survivors (each, as defined therein)

to file confidential Sexual Abuse Survivor Proofs of Claim.

        4.     On June 8, 2020, the Court entered the Order Approving Confidentiality and

Protective Order [D.I. 799] (the “Protective Order”) approving the Revised Protective Order.

        5.     On or about July 18, 2020, the members of the Coalition, by and through their State

Court Counsel, formed the Coalition and retained Coalition Counsel to represent them in




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connection with the Coalition’s claims and interests in respect of the Debtors and the Bankruptcy

Cases.

         6.      On July 29, 2020, the Coalition filed the Verified Statement of Coalition of Abused

Scouts for Justice Pursuant to Bankruptcy Rule 2019 [D.I. 1053], and subsequently received

informal requests for Confidential Information (defined below).

         7.      On August 14, 2020, the Coalition filed the Amended 2019 Statement.

         8.      The Coalition is comprised of more than 12,000 sexual abuse victims (collectively,

the “Coalition Members”) and each of the Coalition Members, as a party-in-interest, holds one or

more claims against the Debtors that may include, but are not necessarily limited to, unsecured

claims and administrative expense claims. Each Coalition Member is a Sexual Abuse Survivor

(as defined in the Bar Date Order) and, as a result, the identity of each Coalition Member and

certain information relating to each Member’s claims are highly confidential.

                               CONFIDENTIAL INFORMATION

         9.      Many of the unsecured creditors in these Bankruptcy Cases are individuals whose

claims against the Debtors are premised on allegations of sexual abuse. Certain of the Coalition

Members have filed civil actions against the Debtors. Many, but not all, of the Coalition Members

who have done so have elected to file their litigation claims in court against the Debtors

pseudonymously, with their real identity to be revealed only to the defendants in the course of

litigation and with the understanding that their identities would not be publicly disclosed. Other

Coalition Members who did not file civil actions contacted the Debtors pre-petition, either with or

without the assistance of counsel, and have asserted claims of abuse by the Debtors’ employees or

agents with the understanding that the Debtors would protect their identities and keep their claims

confidential.


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        10.      Each of the Bar Date Order and the Protective Order recognizes this sensitivity and

protects claimant anonymity subject only to authorizing certain designated persons to have access

to claimant names and address.

        11.      In light of the nature of the claims asserted by the Coalition Members and other

Sexual Abuse Survivors, to avoid causing unnecessary additional anguish or embarrassment, and

to encourage such individuals to feel safe and secure in advancing their respective claims without

fear of retribution or reprisal, the Coalition submits that it would be inappropriate and potentially

harmful to require the public disclosure of either: (i) identifying information3 relating to

individuals who have, either informally, formally, or through the filing of a lawsuit, notified the

Debtors of allegations of abuse by the Debtors or their agents; or (ii) information relating to the

specific allegations of abuse asserted by any of the Sexual Abuse Survivors (collectively, the

“Confidential Information”).

        12.      In addition, the Coalition avers that the “instrument” authorizing the Coalition to

act on behalf of the Coalition Members includes confidential agreements and communications

among Coalition Members, State Court Counsel and Coalition Counsel that are subject to attorney-

client privilege, contain commercially sensitive information, and should not be subject to public

review.4




3
  Such identifying information includes, without limitation, a Coalition Member’s name, biographical details, contact
information, and any other personally identifiable information, except for a pseudonym or other information that a
Coalition Member has voluntarily and knowingly disclosed as part of a litigation, mediation, or other claims or
reporting processes.
4
  Such information includes, without limitation, (i) exemplars of excerpts of the relevant language from the retainer
agreements between each of the Coalition Members and respective State Court Counsel, (ii) communications between
State Court Counsel and respective Coalition Members notifying them of the Coalition and seeking consent to
representation by the Coalition, and (iii) redacted copy of Coalition Counsel’s engagement letter with the Coalition,
by and through, State Court Counsel. Prior to filing this Motion, the Coalition made such information available to
counsel to the Official Committee of Tort Claimants subject to a “Committee Advisors’ Only” designation under the
Protective Order and without waiving attorney-client privilege.
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         13.    As described supra, the Court has already entered orders protecting certain

Confidential Information in other contexts in these Bankruptcy Cases, and the Coalition believes

it is imperative that the decision to come forward and identify oneself as a Sexual Abuse Survivor

be left to the individuals in question, and that reasonable and appropriate accommodations to

safeguard the Confidential Information can and should be made without adversely affecting the

rights of any other parties in interest in these Bankruptcy Cases.

                                     RELIEF REQUESTED

         14.    By this Motion, the Coalition seeks entry of the Proposed Order: (i) authorizing the

Coalition to redact and to file under seal Exhibit A to the Amended 2019 Statement, (ii) directing

that the Confidential Information remain under seal, and (iii) declaring the form of Amended 2019

Statement filed at D.I. 1106 satisfies the requirements of and is sufficient under the Bankruptcy

Rules.

                              BASIS FOR RELIEF REQUESTED

         15.    Bankruptcy Code section 105(a) provides that “[t]he court may issue any order,

process, or judgment that is necessary or appropriate to carry out the provision of [the Bankruptcy

Code].” 11 U.S.C. § 105(a).

         16.    Bankruptcy Code section 107(b) empowers this Court to protect parties from the

potential harm resulting from the disclosure of scandalous matter contained in any Court filing.

See 11 U.S.C. § 107(b). Section 107(b) provides in pertinent part:

                On request of a party in interest, the bankruptcy court shall, and on the
                bankruptcy court’s own motion, may – . . . (2) protect a person with respect
                to scandalous or defamatory matter contained in a paper filed in a case under
                this title.

Id. (emphasis added).



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         17.      Bankruptcy Rule 9018 establishes the procedures by which a party may move for

relief under Bankruptcy Code section 107(b) and provides that “[o]n motion or on its own

initiative, with or without notice, the court may make any order which justice requires … (2) to

protect any entity against scandalous or defamatory material contained in any paper filed in a case

under the Code . . . .” Fed. R. Bankr. P. 9018. The Coalition has complied with Local Rule 9018-

1(d) and has filed the publicly viewable Amended 2019 Statement.

         18.      Bankruptcy Rule 9037 provides in relevant part that “[f]or cause, the court may

order in a case under the Code: (1) require redaction of additional information; or (2) limit or

prohibit a nonparty’s remote electronic access to a document filed with the court.” Fed. R. Bankr.

P. 9037(d).

         19.      Bankruptcy Rule 2019 governs the disclosure of information in chapter 9 and 11

cases whenever “multiple creditors or equity security holders . . . are (A) acting in concert to

advance their common interests, and (B) not composed entirely of affiliates or insiders of one

another.” Fed. R. Bankr. P. 2019(b)(1).5


5
  “The direct antecedent of Rule 2019 was Rule 10–211 under former Chapter X of the Bankruptcy Act,” which “was
designed to ‘provide a routine method of advising the court and all parties in interest of the actual economic interest
of all persons participating in the proceedings.’” In re Washington Mut., Inc., 419 B.R. 271, 277-78 (Bankr. D. Del.
2009) (quoting Securities and Exchange Comm’n, Report on the Study and Investigation of the Work, Activities,
Personnel and Functions of Protective and Reorganization Committees (1937)). Courts have recognized that the
potential for groups, committees and entities (collectively, “Groups”) to use collective action to enhance their
bargaining leverage and credibility in an insolvency case heightens the need for members of such Groups to disclose
the economic interests underlying their litigation positions. See Washington Mut., 419 B.R. at 280; In re Nw. Airlines
Corp., 363 B.R. 701, 703 (Bankr. S.D.N.Y. 2007). The disclosure requirements of Rule 2019 allow creditors to assess
“whether [a particular Group] will represent their interests” and provide “all parties a better ability to gauge the
credibility of an important group that has chosen to appear in a bankruptcy case and play a major role.” Nw. Airlines,
363 B.R. at 709.
 In 2011, Rule 2019 was “substantially amended to expand the scope of its coverage and the content of its disclosure
requirements.” Fed. R. Bankr. P. 2019 advisory committee’s note to 2011 amendments. The 2011 amendments were
precipitated by a series of decisions under the previous version of Rule 2019 addressing the level of disclosure required
by ad hoc groups of distressed investors. See New Rule 2019: Distressed Investors, What Are You Holding?, Am.
Bankr. Inst. J. (June 2011) at 14.

  Among other changes, the 2011 amendments require members of Rule 2019(b) groups to report their “disclosable
economic interests,” a term intended to “be sufficiently broad to cover any economic interest that could affect the
legal and strategic positions a stakeholder takes in a” restructuring case, id., including both direct and derivative
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          20.     Consistent with Bankruptcy Rule 2019, the Coalition acknowledges that, as an ad

hoc group or committee representing multiple creditors that are acting in concert to advance

common interests, it has an obligation to disclose certain required information. The Coalition

submits, however, that the disclosure obligation under Bankruptcy Rule 2019 must be balanced

against more appropriate disclosure and protocols that will shield Sexual Abuse Survivors from

unnecessary embarrassment and trauma resulting from disclosures of personally identifiable

information. See Certain Underwriters at Lloyds v. Future Asbestos Claimants (In re Kaiser

Aluminum Corp.), 327 B.R. 554, 557 (D. Del. 2005) (affirming bankruptcy court order limiting

required Rule 2019 disclosures in mass tort context and recognizing “appropriate balance between

maintaining the public’s right to access the Rule 2019 information and ensuring that the

information is not misused”) (citing In re Owens Corning, et al., Case Nos. 00-3837-3854 (JFK)

at 55).

          21.     The Coalition avers that the Amended 2019 Statement, together with production of

Confidential Information on a “Committee Advisor Only” basis to parties subject to the Protective

Order satisfies the Coalition’s obligations under Bankruptcy Rule 2019 and appropriately balances

the disclosure requirements thereunder against the need to maintain Sexual Abuse Survivor

anonymity and the provisions of Bankruptcy Code sections 107(b) and Bankruptcy Rules 9018

and 9037.

          22.     Specifically, the Coalition submits it has satisfied the requirements of Bankruptcy

Rule 2019 (c)(1), (2) and (3) as follows:


financial interests. See Fed. R. Bankr. P. 2019(a)(1) (defining a “disclosable economic interest” as “any claim, interest,
pledge, lien, option, participation, derivative instrument, or any other right or derivative right granting the holder an
economic interest that is affected by the value, acquisition, or disposition of a claim or interest”); cf. Washington Mut.,
419 B.R. at 279 (“The proliferation of short-selling and the advent of myriad derivative products now allow creditors
to take multiple stakes in the capital structure of debtors. Such varied holdings have the potential to create complex,
conflicting incentives for large creditors.”).

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                the Amended 2019 Statement discloses the Coalition was formed by its members
                 through their State Court Counsel and is comprised of more than 12,000 sexual
                 abuse victims;
                the names and addresses of Coalition Members otherwise protected under the
                 Protective Order and Bar Date Order have been made available to counsel to the
                 Tort Claimants’ Committee subject to the Protective Order on a “Committee
                 Advisors Only” basis; and
                information regarding the current city and state of each Coalition Member, as well
                 as, the date and location of each incident, and the identity of each Coalition
                 Member by use of a unique identification number given to each such member,
                 have been provided, upon request, to parties subject to the Protective Order on a
                 “Committee Advisors Only” basis.

       23.       With respect to Bankruptcy Rule 2019 (c)(4), the Coalition submits that providing

representative    exemplars    of   Confidential    Information,   including   (a)   representative

communications between State Court Counsel and Coalition Members gaining consent for

representation by the Coalition, (b) redacted forms of engagement letters of State Court Counsel,

and (c) redacted engagement letter of Coalition Counsel, on a “Committee Advisors Only” basis

to parties subject to the Protective Order, meets the Coalition’s obligation under Bankruptcy Rule

2019. The Coalition respectfully asserts the underlying retention agreements and communications

between State Court Counsel and the Coalition Members are subject to the attorney-client

privilege, contain commercially sensitive information and, therefore, should not be disclosed

publicly.

        24.      Case law in this district and elsewhere supports limiting the number of documents

and/or instruments and the scope of information that is filed or otherwise made publicly available

in appropriate cases.     For example, in Certain Underwriters at Lloyds v. Future Asbestos

Claimants (In re Kaiser Aluminum Corp.), 327 B.R. 554, 557, (D. Del. 2005), the district court

affirmed the bankruptcy court’s determination that Bankruptcy Rule 2019 “(1) did not require law

firms representing thousands of asbestos personal injury tort claimants in the underlying

bankruptcy cases to file their powers of attorney or other empowering documents, and (2) made
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the information submitted pursuant to the Revised 2019 Orders unavailable on the public docket,

except upon motion by a party and order of the Bankruptcy Court.” The district court also affirmed

the bankruptcy court’s decision to require the law firms to file only exemplars of their retention

agreements and its conclusion that “such exemplars were sufficient to demonstrate compliance

with Rule 2019.” Id. at 560.

        25.    Courts in the Third Circuit have reaffirmed the use of exemplars in place of filing

every retention agreement with the individual members of an ad hoc group in a large complex

case. See In re Motions Seeking Access to 2019 Statements, 585 B.R. 733, 760 (D. Del. 2018). In

In re Pittsburgh Corning Corp., 260 Fed. Appx. 463, 465 (3d Cir. 2008), the Third Circuit affirmed

the lower court orders authorizing law firms representing ad hoc groups of asbestos tort claimants

to “file ‘exemplars’ of their empowering documents and require[ing] anyone who wished to view

the Rule 2019 submissions to file a motion with the court to gain permission.”

        26.    Accordingly, the Coalition seeks entry of the Proposed Order, substantially in the

form attached hereto, which contains the following material provisions:

               (a)    Confidential Information. The Coalition shall not be required to
                      disseminate to any entity, without further order of the Court, any
                      Confidential Information; provided, however, that the Coalition is
                      permitted, but not required, in its sole and absolute discretion, to
                      provide access to Confidential Information to any entity so long as
                      such access to Confidential Information is subject to designation as
                      “Committee Advisor Only” under the terms of the Protective Order.

               (b)    Party-In-Interest Confidential Information Requests. The Coalition
                      shall respond to an entity’s written request for Confidential
                      Information within seven (7) days of the Coalition’s receipt of such
                      written request. The Coalition’s response to any such request shall
                      either (i) provide access to the requested Confidential Information
                      or (ii) provide an explanation of the reasons why such Confidential
                      Information cannot or will not be provided. If the Confidential
                      Information request is denied because it requests Confidential
                      Information, which cannot be disclosed or the request is unduly
                      burdensome, nothing herein shall prevent such party in interest, after

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                        good faith attempts to meet and confer with the Coalition, from
                        filing a motion requesting such information be provided.

                (c)     Further Relief of Court. The Coalition, and any entity in these
                        Bankruptcy Cases that has submitted a request to the Coalition for
                        access to Confidential Information and that has not received all of
                        the information so requested within such seven day period, may file
                        a motion on notice seeking further relief from the Court.

        27.     The Coalition submits the requested relief will help to ensure that Confidential

Information is not disseminated to the detriment of the Sexual Abuse Survivors. Moreover, it will

assist the Coalition in complying with its statutory obligation(s) in an appropriate, cost-effective,

and efficient manner.

                                              NOTICE

        28.     Notice of this Motion will be provided to: (i) the U.S. Trustee; (ii) counsel to the

Debtors; (iii) counsel to the Creditors’ Committee; (iii) counsel to the Tort Claimants’ Committee;

(iv) counsel to the Future Claimants’ Representative; (v) counsel to the Ad Hoc Committee of

Local Councils of the Boy Scouts of America; (vi) counsel to JPMorgan Chase Bank National

Association; (vii) counsel to the Insurers; and (viii) parties consistent with the Standing Order

Regarding Service Pursuant to Del. Bankr. L.R. 5004-4 and 9036-1. The Coalition submits that,

in light of the nature of the relief requested herein, no other or further notice need be given.




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                                         CONCLUSION

        WHEREFORE, the Coalition respectfully requests that the Court enter the Proposed Order,

substantially in the form attached hereto as Exhibit A, granting the relief requested herein and any

further relief the Court may deem just, proper and necessary.


Dated: August 24, 2020                        BLANK ROME LLP
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